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 Attorneys for Defendants Garth Andre Naar and Avatar Management LLC

 EHP60N WAKEMAN LLC, EHP248O CENTER                     UNITED STATES DISTRICT COURT
 LLC, EHP120N IVY LLC, EHP242EO BURNETT                 FOR THE DISTRICT OF NEW JERSEY
 LLC, ERIC HANTMAN, derivatively on behalf of           CIVIL ACTION NO. 2:18-cv-11047-KM-JBC
 EHP76B HECKEL LLC, EHP224N PARKER LLC,
 HHP256 NEPTUNE LLC, UHP461-HHP6600NB
 SMITH LLC, and PRIME NY INC., derivatively on                             Civil Action
 behalf of EHP105N SCHOFIELD LLC, 475E
 CATHERINE LLC, EHP28-30 GREYLOCK LLC, and
 EPH312N SUMMER LLC,
                                                           DECLARATION OF EDWARD S.
                                                            KIEL IN SUPPORT OF COLE
                          Plaintiffs,                       SCHOTZ P.C.’S MOTION FOR
           v.                                                LEAVE TO WITHDRAW AS
                                                            COUNSEL FOR DEFENDANTS
 GARTH ANDRE NAAR, AVATAR MANAGEMENT                         GARTH ANDRE NAAR AND
 LLC, and SILVAN REAL ESTATE INCOME FUND,                  AVATAR MANAGEMENT LLC
 LP,
                    Defendants,
         and

 EHP76B HECKEL LLC, EHP224N PARKER LLC,
 HHP256 NEPTUNE LLC, UHP461-HHP6600NB
 SMITH LLC, 475E CATHERINE LLC, EHP28-30
 GREYLOCK LLC, and EPH312N SUMMER LLC.

                   Nominal Defendants.




          EDWARD S. KIEL declares as follows;

          1.       I am an attorney at law in the State of New Jersey and a member of Cole Schotz

 P.C. (“Cole Schotz”), attorneys for defendants Garth Andre Naar and Avatar Management LLC

 (“collectively, the “Avatar Parties”). I have personal knowledge of the following facts and


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 submit this declaration in support of Cole Schotz’s motion for leave to withdraw as counsel for

 the Avatar Parties.

           2.      Cole Schotz was retained in July 2018 to represent the Avatar Parties in this

 matter.

           3.      Pursuant to the retainer agreement (“Retainer Agreement”) between Cole Schotz

 and the Avatar Parties, Cole Schotz issues monthly invoices for services and costs. Payment on

 the invoices are payable upon receipt.

           4.      At the time of our retention, the Court had entered an order to show cause with

 temporary injunctive relief (the “Order to Show Cause”), restraining the Avatar Parties from

 taking any action relating to certain properties that are the subject of this lawsuit or transferring

 any funds in the Avatar Parties’ bank accounts. . (Order to Show Cause [Dkt. Entry 5].)

           5.      Since our retention, we have provided substantial services for the Avatar Parties.

 We prepared and filed a response to the Order to Show Cause along with a motion to dismiss

 (the “Motion to Dismiss”). (Brief of Defendants Garth Andre Naar and Avatar Management

 LLC [Dkt. Entry 35].) We served discovery demands and assisted our client in responding to

 expedited discovery demands from the other parties. The exchange of discovery involved the

 review of thousands of pages of documents and e-mails.

           6.      Following plaintiffs’ filing of an amended complaint (Amended Compl. [Dkt.

 Entry 53]), we prepared and filed a supplemental brief in further support of the Motion to

 Dismiss. (Brief in Support [Dkt. Entry 63].)

           7.      Additionally, we appeared for oral argument on two occasions and have

 participated in numerous telephone conferences with the Court and counsel. Following the




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 telephone conferences, we engaged in substantial negotiations relating to the forms of interim

 orders.

           8.      While Cole Schotz has performed substantial services for the Avatar Parties, the

 Avatar Parties have not satisfied their obligations under the Retainer Agreement.

           9.      Despite having been provided numerous extensions of time for the payment of

 Cole Schotz’s invoices, the Avatar Parties have failed to compensate Cole Schotz for a very large

 and significant portion of the legal fees and expenses incurred to date.

           10.     I have spoken extensively with Mr. Naar about the overdue invoices and advised

 that Cole Schotz cannot continue to represent the Avatar Parties without payment of the

 significant outstanding balance. Based on those conversations, it is our conclusion that there is

 no reasonable assurance that payment is forthcoming or that future invoices for legal fees and

 costs will be paid.

           11.     Additionally, as discussed during the status conference on October 31, 2018 and

 as directed by the Court’s Minute Entry (Minute Entry [Dkt. Entry 70]), a supplemental

 declaration of counsel is being submitted under seal for in camera review.

           12.     Accordingly, Cole Schotz requests that it be relieved as counsel. Because Avatar

 Management is a corporate entity, on behalf of same, we request a reasonable amount of time for

 Avatar Management to obtain substitute counsel.

           I declare under penalty of perjury that the foregoing is true and correct.



                                                                /s/ Edward S. Kiel
                                                                Edward S. Kiel

 Dated: November 2, 2018




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